156 F.3d 1245
    98 CJ C.A.R. 4362
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Terry F. WALLING, Plaintiff-Appellant,v.Charles SIMMONS, Kansas Secretary of Corrections, Defendant-Appellee.
    No. 98-3115.
    United States Court of Appeals, Tenth Circuit.
    Aug. 17, 1998.
    
      Before PORFILIO, KELLY, and HENRY, Circuit Judges.
    
    
      1
      ORDER AND JUDGMENT*
    
    PORFILIO, Circuit Judges
    
      2
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.R.App.P. 34(a); 10th Cir.R. 34.1.9.  The case is therefore ordered submitted without oral argument.
    
    
      3
      Terry F. Walling appeals the order of the district court granting summary judgment against him on his complaint for declaratory judgment and injunctive relief.  Our review of the records reveals the district court did not err in its judgment, and we AFFIRM for the same reasons given by the district court in its order.
    
    
      
        *
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  This court generally disfavors the citation of orders and judgments; nevertheless, an order and judgment may be cited under the terms and conditions of 10th Cir.R. 36.3
      
    
    